         Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 1 of 6


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                              I]NITE,D STATES DISTRICT COURT     ^<r!<b \ -,:-
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                                WESTERN DISTRICT OF TEXAS
                                                               l't lll'.:     :r'r    I i      ili,".!.i   i
                                       AUSTIN DI\ISION
                                                               li{irt, -' ,      :


UNITED STATES OF AMERICA,                 s
                                                                                      l,kzn'
                                          $
                      Plain   tiff,       s
                                          s
v                                         $


KARLBECK(1)
                                          s
                                          $     CAUSE NO.      t2lCR             04Br_y
                                          $
                                          s
                                          $
CRAIG NEELY (4)                           $
BOBBY IIALE (5)                           $
MICHAEL PETERSON (6)                      s
ELIAS LOZA, JR. (7)                       $
REGINALD TIIOMAS (8)                      $
STEPIIANIE SHIRTS (9)                     $
                                          $
CLINTON JOI{NSON (11)                     $
SHAWN MALMQUIST (12)                      $
AMY ROGERS (13)                           s
                                          $
ANTHOIIY LONES    II   (15)               $
vrcToRrA MANNING (16)                     $
                                           s
R]CI{ARD ZAMORA (18)                       $
ADRIANNE SPENCE (19)                       $
                                           $
JOSHUA CHERRY (21)                         $
JOSHUA BAILEY (2?)                         $
                                           $
                                           $

LEONARD CANTRELL (25)                      $
                                           $
                                           $
                                           $
HALLIE SIIAW   (29)                        $
                                           s
RITA ISLAS (31)                            $
        Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 2 of 6




MADISON MTTCHELL (32)             $
I{ILDA GUTIERREZ-BENITEZ   (33)   $


                 Dcfendants.
             Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 3 of 6




THE GRAND JURY CILdRGES:


                                            COUNT ONE
                   Conspiracy to Possess with Intent to Distribute and Distribution
                           of a Controllcd Substance, Methamphetamine
                                    (Violation of 21 U.S.C. $ 846)

1   .    Beginning on or about August    l,   2019, and continuing through March 2,2021, in the

Westem District of Texas and elsewhere,       KARL BECK,                                     '

                                                                                  , CRAIG

NEELY, BOBBY EALE, MICHAEL PETERSON, ELIAS LOZA, JR., REGINALD

TEOMAS, STEPTIANM SHIRES,                                        , CLINTON JOHNSON,

SHAWN MALMQUIST, AMY ROGERS,                                          , ANTHONY LONES        II,

VICTORIA MANNING,                                       , RICHARD ZAMORA, ADRIANNE

SPENCE,                          , JOSHUA CIIERRY, JOSHUA BAILEY,

                                       , LEONARD CANTRELL,                               ,

                                                                 IIALLIE SHAW,

                              RITAISLAS, MADISON MITCflELL, and HILDA

GUTIERREZ-BENITEZ, defendants, did intentionally and knowingly combine, conspire,

confederate, and agree together and with each other, and with other persons known and unknown

to the Grand Jury, to possess with intent to distribute and distribute methamphetamine, a

Schedule controlled       substance.

        OUANTITY          METHAMPI{ETAN{I            INVOL\IED IN COUNT O NE OF THE
                                              CONSP IRACY

2.       With respect to I(ARL BECK'                                       ,

                                                                        ' MICHA-EL PETERSON'


Indictment   -   Page 3
             Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 4 of 6




ELIAS LOZA, JR., BOBBY HALE, CRAIG NEELY, and REGINALD THOMAS, their

conduct as members ofthe narcotics conspiracy charged in Count One, which includes the

reasonably foreseeable conduct ofother members ofthe narcotics conspiracy charged in Count

One, involved 500 grams or more          ofa mixture and substance containing a detectable amount of

methamphetamine, a Schedule        Ii   controlled substance.

       In violation of   2l   U.S.C. $ 846, the penalty for which is found at 21 U,S.C. $

841(bX1XA).

3.     With   TESPCCT   tO   STEPHANIE SIIIRES,                               , CLINTON

JOHNSON, STIAWN MALMQUIST, AMY ROGERS,                                                 ANTHONY

LONES TI, VICTORIA MANMNG,                                                RICIIARD ZAMORA"

ADRIANNE SPENCE,                                  , JOSHUA CHERRY, JOSI{UA BAILEY,

                                                     , LEONARD CANTRELL,

         ,                                   ,                                IL{LLIE SHAW'

                                         ' RITA ISLAS, MADISON MITCHELL,             ANd   IIILDA

GUTIERREZBENITEZ, their conduct                  as members of the narcotics conspiracy charged in


Count One, which includes the reasonably foreseeable conduct of other members ofthe narcotics

conspiracy charged in Count One, involved 50 grams or more ofa mixture and substance

containing a detectable amount of methamphetamine, a Schedule II controlled substance.

       In violation of 21 U.S.C. S 846, the penalty for which is found at 21 U.S.C. $

841(bXixB).

                                                 CO       TWO
                                              Money Laundering
                                        (Violation of 18 U.S.C. $ 1956)

4.BeginningonoraboutAugustl,20lg,andcontinuingthroughMarch2,202l,inthe

Western District of Texas and elsewhere, KARJ, BECK,                                            ,
Indic0nent- Prge 4
             Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 5 of 6




                                                                                     , CRAIG

NEELY, BOBBY HALE,                                                  , RICHARD ZAMORA,

MADISON MITCI{ELL, and RITA ISLAS, defendants, and others known and unknown to

the Grand Jury, did unlawfully, knowirigly and intentionally combine, conspire, oonfederate and

agree together, and with others known and unknown to the Grand Jury, to commit ce(ain

offenses under      l8 U.S.C. 51956,   as   follows:

       a)     to condugt and attempt to conduct financial transactions affecting interstate and

foreign commerce that involved property which was the proceeds ofspecified unlawful activity,

to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,

with the intent to promote the carrying on of said specified unlawful activity in violation of l8

U,S.c. S 19s6(aXl)(A)(i); and

       b)        to conduot and attempt to conduct financial transactions affecting interstate and

foreign commerce that involved properfy which was the proceeds ofspecified unlawful activity,

to wit, unlawful possession with intent to distribute a controlled substance, methampethamine,

with the intent to conceal or disguise the nature, the location, the source, the ownership, or the

control of the proceeds ofsaid specified unla*ful activity in violation of i8 U.S.C. S

1956(aXlXBXD.

       ln violation of l8 U.S.C. S 1956(h), the penalty for which is found at l8 U'S.C'       S



l9s6(a)(l).




Indictment   -   Page 5
             Case 1:21-cr-00048-LY Document 282 Filed 03/02/21 Page 6 of 6




                                           A TRUE BILL




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ASHLEY C. HOFF
       STA'IES A'I'TORNEY




          D.
Assistant United States Attomey




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